 Case: 0:17-cv-00014-HRW Doc #: 19 Filed: 03/23/17 Page: 1 of 4 - Page ID#: 259



                                        Electronically filed

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            NORTHERN DIVISION AT ASHLAND
                              CASE NO: 0:17-CV-00014-HRW

Robert P. Elliott, as the Executor                                                   PLAINTIFF
of the Estate of Earthel Elliott, deceased

v.

GGNSC Vanceburg, LLC
d/b/a Golden LivingCenter – Vanceburg, et al.                    DEFENDANTS
 _____________________________________________________________________________

                      PLAINTIFF’S MOTION TO REMAND
  ___________________________________________________________________________

       Comes now the Plaintiff, Robert P. Elliott, as Executor of the Estate of Earthel Elliott,

deceased, by counsel, and files the instant Motion to Remand, and in support thereof, states as

follows:

                 I.       FACTUAL AND PROCEDURAL BACKGROUND

       1.      This matter arises out of claims sounding in negligence, corporate

negligence/liability and custodial abuse/neglect from injuries suffered by Earthel Elliott,

deceased (“Ms. Elliott”), while she was a resident of Defendants’ nursing facility known as the

Golden Living Center - Vanceburg, located at 58 Eastham Street, Vanceburg, Kentucky 41179

on December 26, 2015 and remained there until February 1, 2016.

       2.      On January 17, 2017, the Plaintiff, Robert P. Elliott, as the Executor of the Estate

Earthel Elliott, deceased, filed a civil Complaint in the Lewis Circuit Court, Civil Action No. 17-

CI-00015. Plaintiff is domiciled in the Commonwealth of Kentucky. [Doc # 1-1; Plaintiff’s

Complaint ¶1].
 Case: 0:17-cv-00014-HRW Doc #: 19 Filed: 03/23/17 Page: 2 of 4 - Page ID#: 260



       3.      On or about February 1, 2017, Defendants, GGNSC Vanceburg, LLC d/b/a

Golden LivingCenter-Vanceburg; GGNC Administrative Services, LLC; GGNSC Holdings,

LLC; GGNSC Equity Holdings, LLC; GGNSC Equity Holdings II, LLC; Golden Gate National

Senior Care, LLC; Golden Gate Ancillary, LLC; GGNSC Clinical Services, LLC; GPH

Vanceburg, LLC; and Joy J. Dingess filed a Notice of Removal with this Court pursuant to 28

U.S.C. § 1441 on the basis of diversity of citizenship. [Doc #1].

       4.      On March 7, 2017, Plaintiff filed a Motion to Amend Complaint to Add

Additional Defendant. [Doc #11]. The Amended Complaint sought to add Paula J. Hampton as

a defendant to this action. [Doc #11-2].    Ms. Hampton is domiciled in the Commonwealth of

Kentucky with residential address at 303 Banjo Lane, Vanceburg, Lewis County, Kentucky

41179. [Doc 11-2, Amended Complaint, ¶15].

       5.      Defendants’ Response Objecting Plaintiff’s Motion for Leave to File Amended

Complaint correctly acknowledged that Plaintiff’s Amended Complaint would destroy diversity

in this case. [Doc #12]. Over that objection, however, this Court granted Plaintiff’s Motion to

Amend on March 16, 2017. [Doc #13].

       6.      After the filing of the Amended Complaint on March 16, 2017, this Court issued

summons to Paula Hampton. [Doc #17]. In lieu of personal service upon her, Paula Hampton

agreed to allow counsel for the removing Defendants to accept service on her behalf.     Paula

Hampton was served with summons and the Amended Complaint on March 23, 2017. [Doc #18].

       7.      As discussed below, the addition of Paula Hampton as a party-defendant destroys

this Court’s diversity jurisdiction, and this case should be remanded back to the Lewis Circuit

Court for further proceedings. Even Defendants, through their prior response [Doc #12] have

admitted that the addition of Paula Hampton destroys this Court’s jurisdiction.



                                                 2
 Case: 0:17-cv-00014-HRW Doc #: 19 Filed: 03/23/17 Page: 3 of 4 - Page ID#: 261



                                      II.      ARGUMENT

       8.      Under 28 U.S.C. § 1441(a), “any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed by the defendant

or the defendants, to the district court of the United States for the district and division embracing

the place where such action is pending.” 28 U.S.C. § 1441(a).

       9.      Removal based upon diversity of citizenship is only allowed if the civil action is

between “citizens of different states,” 28 U.S.C. §1332(a)(1).

       10.     The U.S. Supreme Court has interpreted the diversity statute to require “complete

diversity – that is, the citizenship of every plaintiff must be different from that of every

defendant.” Caterpillar Inc. v. Lewis, 519 U.S. 61, 68 (1996).

       11.     A federal court’s subject matter jurisdiction over a removed case is always subject

to challenge up through the court issuing a final judgment in the action. 28 U.S.C. § 1447(c).

       12.     Relevant to the issue of subject matter jurisdiction in this case is 28 U.S.C.

§1447(e) which states that “[i]f after removal the plaintiff seeks to join additional defendants

whose joinder would destroy subject matter jurisdiction, the court may deny joinder, or permit

joinder and remand the case to the State court.” 28 U.S.C. §1447(e).

       13.     With the filing of the Court’s Order allowing the filing of Plaintiff’s Amended

Complaint, this case no longer has complete diversity as required under Caterpillar Inc., supra.

Because Plaintiff is domiciled in Kentucky and Defendant, Paula Hampton is also domiciled in

Kentucky.

       14.     As a result, under 28 U.S.C. §1447(e), this case must be remanded back to State

court – Lewis Circuit Court.




                                                 3
 Case: 0:17-cv-00014-HRW Doc #: 19 Filed: 03/23/17 Page: 4 of 4 - Page ID#: 262



       WHEREFORE, Plaintiff respectfully requests that this matter be remanded to Lewis

Circuit Court.


                                                     Respectfully submitted,

                                                     Robert Elliott, as Executor of the Estate
                                                     of Earthel Elliott, deceased,

                                              By:    /s/ Todd C. Myers
                                                     Todd C. Myers, Esq. (KY 88505)
                                                     WILKES & MCHUGH, P.A.
                                                     P.O. Box 1747
                                                     Lexington, KY 40588-1747
                                                     Telephone: (859) 455-3356
                                                     Facsimile: (859) 455-3362
                                                     Attorney for Plaintiff

                                CERTIFICATE OF SERVICE

        I hereby certify that on March 23, 2017, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system. I additionally certify that a true and accurate copy of
the foregoing was electronically served via the CM/ECF system to the following:

J. Peter Cassidy, III, Esq.
Nathaniel R. Kissel, Esq.
Quintairos, Prieto, Wood & Boyer, P.A.
2452 Sir Barton Way, Ste. 300
Lexington, Kentucky 40509

and

Donald L. Miller, II, Esq.
Quintairos, Prieto Wood & Boyer, P.A.
9300 Shelbyville Rd., Ste. 400
Louisville, Kentucky 40222
Attorneys for Defendants

                                                     /s/ Todd C. Myers
                                                     WILKES & MCHUGH, P.A.
                                                     Attorney for Plaintiff




                                                 4
